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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ILLINOIS

 CATHERINE ALEXANDER,                         )
                                              )
                      Plaintiff,              )
                                              )
 vs.                                          )   Case No. 18-cv-966-SMY
                                              )
 TAKE-TWO INTERACTIVE                         )
 SOFTWARE, INC. 2K GAMES, INC.,               )
 2K SPORTS INC., WORLD                        )
 WRESTLING ENTERTAINMENT,                     )
 INC., VISUAL CONCEPTS                        )
 ENTERTAINMENT, YUKE'S CO.,                   )
 LTD, YUKES LA INC.,                          )
                                              )
                      Defendants.             )

                        JUDGMENT IN A CIVIL ACTION

       IT IS ORDERED AND ADJUDGED that pursuant to this Court’s Order dated

March 18, 2020 (Doc. 176), Plaintiff Catherine Alexander’s claims against Defendants

Yuke's Co., Ltd. and Yukes LA, Inc. were DISMISSED for lack of personal jurisdiction.

       This case was tried by a jury and the jury rendered a verdict on September 30, 2022,

in favor of Plaintiff and against Defendants 2K Games, Inc., 2K Sports Inc., Take-Two

Interactive Software, Inc., Visual Concepts Entertainment, and World Wrestling

Entertainment, Inc. (Doc. 298). Therefore, judgment is entered in favor of Plaintiff in the

amount of $3,750.00 and against Defendants 2K Games, Inc., 2K Sports Inc., Take-Two

Interactive Software, Inc., Visual Concepts Entertainment, and World Wrestling

Entertainment, Inc.

DATED: October 3, 2022
                                          MONICA STUMP, Clerk of Court
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                                   By: s/ Stacie Hurst, Deputy Clerk

Approved:



            STACI M. YANDLE
            UNITED STATES DISTRICT JUDGE
